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                           EXHIBIT A
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                                        BEN BARNOW
                                  BARNOW AND ASSOCIATES
                                  a professional corporation
                                     ATTORNEYS AT LAW

 Ben Barnow is nationally recognized for his experience in leading some of the nation’s largest
 consumer class actions. In that capacity, he has successfully led the prosecution of a number of
 large-scale class actions relating to consumer protections issues, consumer data security breaches,
 and antitrust violations. He has been appointed to and served in leadership positions in cases
 located throughout the nation, in both state and federal courts, including a number of MDL
 proceedings.

 During his over forty-year legal career, Ben Barnow has represented both plaintiffs and defendants
 in many types of litigation and has engaged in significant transactional work. For a substantial
 number of years, he acted as General Counsel to one of the world's largest public relations agency
 and presided as chairman of certain retirement trusts.

 Ben Barnow graduated from the University of Wisconsin in June of 1966 with a Bachelor’s degree
 in Business Administration. He received his Juris Doctor from the University of Michigan Law
 School in May of 1969. He is licensed to practice in the State of Illinois and the State of New
 York. Mr. Barnow is also admitted to practice before the Supreme Court of the United States of
 America, the United States Court of Appeals for the First Circuit, the United States Court of
 Appeals for the Third Circuit, the United States Court of Appeals for the Seventh Circuit, the
 United States Court of Appeals for the Ninth Circuit, the United States District Court for the
 Northern District of Illinois, and the United States District Court for the Eastern District of
 Wisconsin. He is a member of the American Bar Association, the Association of Trial Lawyers of
 America, the Illinois State Bar Association, and the Chicago Bar Association. He has also served as
 a member of the Panel of Arbitrators of the American Arbitration Association; in that capacity, he
 arbitrated a number of disputes. He is listed in Martindale-Hubbell with an AV rating.

 Ben Barnow was an Associate Professor at Northern Michigan University from 1969-1971, where
 he taught business law and unfair competition. Mr. Barnow joined the law firm of Herrick,
 McNeill, McElroy & Peregrine in July 1971, where he became a partner in 1977.

 Selected Litigation Cases

 Consumer Protection Cases

 Ben Barnow has served in leadership positions in a number of consumer protection cases,
 including, among others:

 Schwab v. America Online, Inc. (America Online Access Litigation). Ben Barnow served as Class
 Counsel and Co-Chair in this highly publicized litigation relating to AOL’s representation that
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 users would have unlimited access to AOL for $19.95/month and the connectivity problems that
 ensued in conjunction therewith. In the face of what was ultimately over one hundred class actions
 filed nationwide, Mr. Barnow organized over 50 law firms and set up the co-chairmanship and the
 Executive Committee, which brought order and resolution to this litigation. A settlement was
 reached and has been granted final approval, resulting in a multi-million dollar benefit to a Class
 estimated to include over 8 million people.

 In Re: Chicago Flood Litigation. As Co-Lead Class Counsel and a member of the Executive
 Committee, Ben Barnow was responsible for several major aspects of this class action, which
 included years of litigation, appellate practice, trial, and a multi-million settlement. Mr. Barnow
 argued a related portion of the matter before the Supreme Court of the United States, Jerome B.
 Grubart, Inc. v. Great Lakes Dredge & Dock Co., 513 U.S. 527 (1995), and was responsible for
 preparing the petition for writ of certiorari and all related filings. At the Supreme Court level,
 opposing counsel was John Roberts, who now sits as Chief Justice of the Supreme Court of the
 United States.

 Orrick v. Sonic Communications. Ben Barnow was one of Lead Class Counsel in this matter
 relating to the practice known as “slamming.” The private actions and actions filed on behalf of
 various Attorneys General were consolidated. A settlement covering all of the pending cases and
 providing benefits of approximately $8.3 million was achieved and granted final approval. This
 litigation is believed to be the first class certification and class settlement relating to the practice
 known as “slamming.”

 Heilman v. Perfection Corp. Ben Barnow served as Co-Lead Class Counsel in this national class
 action concerning allegedly defective dip tubes in over 14.2 million hot water tanks sold
 throughout the United States. In this capacity, Mr. Barnow organized twenty-three law firms and
 oversaw numerous filings in bringing about a national unified settlement that provided for a 100%
 recovery of out-of-pocket expenses and requisite repairs, including preventive replacement of all
 concerned dip tubes, whether or not the dip tubes had actually failed.

 Siegel v. Syncronys. Ben Barnow was Co-Class Counsel in this nationwide class action concerning
 an allegedly defective computer product. The matter was settled, resulting in a remedy for the
 Class that provided for a 100% reimbursement on moneys spent for the product; the value of the
 settlement was estimated at $22 million.

 Schneider v. Dominick’s Finer Foods, Inc. Ben Barnow was Co-Class Counsel in this matter
 relating to the defendant’s alleged failure to deliver on representations of 100% ground beef. A
 settlement was reached and granted final approval, which included significant remedial relief in
 the form of shop signage regarding cleanliness and meat grinding practices, and fluid recovery
 mechanisms to compensate the class members by way of in-store sales and published coupons.

 Schwab v. Binney & Smith. Ben Barnow served as Co-Lead Class Counsel in this case relating to
 crayons produced for decades with talc, which allegedly contained, or was subject to containing,
 asbestos. Mr. Barnow negotiated a national class settlement that contributed to the reformulation
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 of most crayons produced in this country, so as to eliminate the inclusion of talc and, thus, the
 alleged asbestos inclusion, and the settlement was granted final approval. This represented one of
 the largest classes ever certified, if not the largest.

 In Re: Mercury Class Action Litigation. Ben Barnow served as Co-Lead Class Counsel in this case
 relating to the location of mercury-containing gas regulators in and on real estate. A settlement was
 reached and granted final approval that provided for medical monitoring, removal of the
 regulators, and cash compensation to certain class members.

 In Re: Starlink Corn Products Liability Litigation, MDL No. 1403. Ben Barnow served as Co-
 Lead Class Counsel in this MDL proceeding relating to the alleged inclusion of genetically
 engineered corn in the defendants’ food products. A settlement was reached, valued at $9 million,
 including the return of up to $6 million to consumers on a fluid recovery/cy pres basis through
 price reduction on future purchases coupled with a cash payment to approved charities based on
 shortfall in the redemption.

 Boland v. McDonald’s Corp. (McDonald’s Sweepstakes Litigation). As Co-Lead Class Counsel in
 this litigation, Ben Barnow coordinated the efforts of approximately 25 plaintiffs’ firms. The
 litigation concerned certain McDonald’s promotional games and arose from the fraudulent
 removal of winning game pieces from random public distribution. Mr. Barnow developed and
 accomplished the settlement concept, to wit, for a chance lost, a chance would be given. The
 settlement, valued at approximately $20 million, included fifteen $1 million prizes given away by
 random selection. The settlement included the United States and nine other countries.

 Fernandez v. Vitamin Shoppe Industries, Inc. Ben Barnow served as Co-Lead Counsel in this
 national class action that settled, resulting in injunctive relief regarding labeling practices, and
 additional relief by way of discount coupons and cy pres relief to appropriate charities.

 In Re: United Parcel Service, Inc., Shipper Excess Value Insurance Coverage Litigation. Ben
 Barnow was one of Settlement Class Counsel in this litigation. A settlement was reached and
 granted final approval, providing relief to UPS shippers who had paid premiums for excess value
 insurance coverage.

 Smith v. J.M. Smucker Co. Ben Barnow was Class Counsel in this litigation relating to allegedly
 deceptive advertising practices. Mr. Barnow negotiated a national settlement and organized a
 group of plaintiffs’ counsel from over 25 firms throughout the country who supported the
 settlement. The settlement was granted final approval, making available valuable relief to
 consumers of spreadable fruit products labeled “Simply 100% Fruit,” including a change of
 labeling practices by the defendant, which added and maintained the following language, in
 prominent fashion, on the front label of its Simply 100% Fruit products: "Sweetened with fruit
 syrup from apple, pineapple or pear juice concentrate," thus fairly and fully advising consumers of
 the product they were purchasing.
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 Rosen v. Ingersoll-Rand Co., Kryptonite Corp. Ben Barnow was Co-Lead Class Counsel in this
 matter relating to allegedly defective bicycle locks. Mr. Barnow organized 18 U.S. and Canadian
 law firms and negotiated a settlement on behalf of Class members in the United States and
 Canada. The settlement was granted final approval, providing valuable relief to purchasers of the
 allegedly defective U-shaped tubular cylinder bicycle locks throughout the United States and
 Canada.

 Gianopolous v. Interstate Brand Corp. and Interstate Bakeries Corp. Ben Barnow was appointed
 one of Class Counsel in this litigation concerning allegedly adulterated bakery goods. A settlement
 was reached and granted final approval, making valuable relief available to consumers.

 Palace v. DaimlerChrysler Corp. Ben Barnow was one of Co-Lead Class Counsel in this litigation
 relating to the defendant’s alleged sale of Neon model vehicles containing defective head gaskets.
 After several years of contested litigation, a settlement was reached and granted final approval,
 making up to $8.25 million available to Class members for reimbursement of repair costs and
 other expenses.

 In Re: M3Power Marketing Practices Litigation, MDL No. 1704. Ben Barnow was appointed
 Co-Lead Class Counsel in this MDL proceeding relating to the defendant’s allegedly deceptive
 marketing and sale of M3Power shaving razors. A settlement was reached and granted final
 approval, making available benefits of more than $7 million to Class members.

 In Re High Sulfur Content Gasoline Products Liability Litigation, MDL No. 1632. Ben Barnow
 served as Co-Lead Settlement Class Counsel in this 26-case MDL proceeding relating to the
 defendant’s alleged sale of defective gasoline. A settlement was reached and has been granted final
 approval, resulting in approximately $100 million being made available towards the satisfaction of
 consumers’ claims.

 Stelk v. BeMusic, Inc. Ben Barnow served as Co-Lead Class Counsel in this litigation relating to
 charges for shipping and handling in the context of a “free” offer. The Class included an estimated
 16 million members. A settlement was reached and granted final approval providing substantial
 relief to a Class estimated to include 16 million members, including a guaranteed minimum of $8
 million.

 Schulte v. Fifth Third Bank. Ben Barnow served as one of Co-Lead Settlement Class Counsel in
 this action relating to allegations that the defendant unlawfully re-sequenced debit card
 transactions in order to maximize overdraft fees. In this capacity, he negotiated a settlement with
 Defendant’s counsel providing for the establishment of a $9.5 million settlement fund and
 including substantial injunctive relief, the present value of which Plaintiffs’ expert estimated to be
 approximately $58.8 million over five years and $108.3 over ten years. The settlement has been
 granted final approval.
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 Ori v. Fifth Third Bank. Ben Barnow served as one of Co-Lead Settlement Class Counsel in this
 action relating to inactive mortgage loans that were erroneously reported as active to Consumer
 Credit Reporting Agencies. The Settlement Class included approximately 55,000 individuals, and
 the settlement made available cash benefits of approximately $3,000,000 to members of the
 Settlement Class. Final approval of the settlement has been granted.

 Consumer Data Security Breach Cases

 Ben Barnow has been appointed a lead class counsel and has settled a number of the nation’s
 largest data security breach consumer class actions, including:

 In Re: TJX Retail Security Breach Litigation, MDL No. 1838. Ben Barnow served as one of Co-
 Lead Settlement Class Counsel for the Consumer Track in this MDL proceeding relating to the
 theft of approximately 45,000,000 credit and debit card numbers used at TJX stores and the
 personal information of over 454,000 TJX customers. Mr. Barnow took the lead in negotiating a
 settlement with TJX’s attorneys that made available benefits valued at over $200 million to the
 Class. The Honorable Judge Young granted final approval to the settlement, which he referred to
 as “excellent” and as containing “innovative” and “groundbreaking” elements.

 Lockwood v. Certegy Check Services, Inc. Ben Barnow served as one of Co-Lead Settlement Class
 Counsel in this consolidated proceeding relating to the theft of approximately 37 million
 individuals’ private and confidential information from Certegy Check Services, Inc.’s computer
 databases. Mr. Barnow organized all plaintiffs’ counsel and pending cases without the benefit of an
 MDL and negotiated a settlement that was granted final approval, making benefits valued at over
 $500 million available to Settlement Class Members. At the final fairness hearing, the Honorable
 Judge Merryday described the settlement as a “good deal,” providing “a real benefit to a large class
 of persons” as “the result of the focused attention of skilled counsel for a protracted time.”

 In Re: Countrywide Fin. Corp. Customer Data Security Breach Litigation, MDL No. 1998. Ben
 Barnow served as one of Co-Lead Settlement Class Counsel in this forty-case MDL proceeding
 relating to a former Countrywide employee’s theft and sale of millions of Countrywide customers’
 private and confidential information. Mr. Barnow negotiated a settlement that has been granted
 final approval, making benefits valued at over $650 million available to approximately seventeen
 (17) million Settlement Class Members. In the opinion granting final approval to the settlement,
 the Honorable Chief Judge Russell noted that “Co-Lead Settlement Counsel are nationally
 recognized in the field of class actions, particularly those involving security breaches,” and stated
 that “the Court was impressed with Co-Lead Counsel and Countrywide counsels’ knowledge and
 skill, as represented in the various motions and hearings that took place throughout this
 settlement process.”

 Rowe v. Unicare Life and Health Insurance Co. Ben Barnow was Lead Counsel in this
 proceeding relating to the defendants’ alleged failure to secure the private health information of
 approximately 220,000 individuals enrolled in the defendants’ health insurance plans, resulting in
 such information being accessible to the public via the Internet. Mr. Barnow negotiated a
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 settlement that has been granted final approval, making benefits valued at over $20 million
 available to Settlement Class Members. At the preliminary approval hearing, the Honorable Judge
 Hibbler described the efforts of the parties as “exemplary.”

 In Re: Heartland Payment Systems Inc., Data Sec. Breach Litigation, MDL No. 2046. Ben
 Barnow is one of Co-Lead Counsel for the Consumer Track in this MDL proceeding relating to
 what has been reported as one of the largest (if not the largest) data security breaches in history.
 Mr. Barnow negotiated a settlement on behalf of a Settlement Class that is estimated to include
 more than 120 million members. Notice of the settlement was completed and only one objection
 was received. Final approval of the settlement has been granted.

 Antitrust Cases

 Ben Barnow has served in leadership positions in a number of significant antitrust cases,
 including, among others:

 Wisconsin Civil Microsoft Antitrust Litigation. Ben Barnow served as one of Co-Lead Class
 Counsel in this indirect purchaser antitrust lawsuit. Mr. Barnow and his co-counsel successfully
 petitioned the Wisconsin Supreme Court to recognize the rights of indirect purchasers to recover
 under Wisconsin’s antitrust laws. Olstad v. Microsoft Corp., 700 N.W.2d 139 (Wis. 2005).
 Subsequently thereto, Mr. Barnow negotiated a settlement valued at approximately $224 million
 that was granted final approval by the Court.

 Arkansas, Kansas, South Dakota Civil Microsoft Antitrust Litigations. Ben Barnow served as a
 Co-Lead Class Counsel in the Kansas, South Dakota, and Arkansas Microsoft civil antitrust cases.
 Each of these cases settled and the settlements were granted final approval.

 Microsoft Civil Antitrust Litigation, MDL No. 1332. Ben Barnow served as a member of the
 nine-member Plaintiffs’ Lead Counsel Committee in this MDL antitrust proceeding before Judge
 Motz in the United States District Court for the District of Maryland.

 Loeb Industries, Inc. v. Sumitomo Corp. Ben Barnow served as Co-Lead Counsel in this
 nationwide class action antitrust litigation, which sought recovery on behalf of a class of scrap
 copper purchasers who were allegedly harmed by activities allegedly designed to manipulate the
 copper market. A $20 million cash settlement with one of the defendants (Merrill Lynch) was
 reached and granted final approval.

 In re: Photochromic Lens Antitrust Litigation. Ben Barnow was appointed as one of four Co-
 Lead Class Counsel representing indirect purchaser plaintiffs in an antitrust class action involving
 Transitions Optical, Inc.’s photochromic lenses.
